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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                    Plaintiff,

        v.                                  Crim. Action No.: 2:20CR42-1
                                                          (Judge Kleeh)

 EDWIN MACK TAYLOR,

                    Defendant.

    ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
      CONCERNING PLEA OF GUILTY IN FELONY CASE [DKT. NO. 53],
       ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

        On   October   26,   2021,    the   Defendant,   Edwin   Mack   Taylor

 (“Taylor”), appeared before United States Magistrate Judge Michael

 J. Aloi and moved for permission to enter a plea of GUILTY to Count

 Five   of    the   Indictment,      charging   him   with   Distribution   of

 Methamphetamine, in violation of Title 21, United States Code,

 Sections 841(a)(1), 841(b)(1)(C). Taylor stated that he understood

 that the magistrate judge is not a United States District Judge,

 and Taylor consented to pleading before the magistrate judge. This

 Court referred Taylor’s plea of guilty to the magistrate judge for

 the purpose of administering the allocution, pursuant to Federal

 Rule of Criminal Procedure 11, making a finding as to whether the

 plea was knowingly and voluntarily entered, and recommending to

 this Court whether the plea should be accepted.
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       Based upon Taylor’s statements during the plea hearing, and

 the Government’s proffer establishing that an independent factual

 basis for the plea existed, the magistrate judge found that Taylor

 was competent to enter a plea, that the plea was freely and

 voluntarily given, that Taylor was aware of the nature of the

 charges against him and the consequences of his plea, and that a

 factual basis existed for the tendered plea.         The magistrate judge

 issued a Report and Recommendation Concerning Plea of Guilty in

 Felony Case (“R&R”) [Dkt. No. 53] finding a factual basis for the

 plea and recommending that this Court accept Taylor’s plea of

 guilty to Count Five of the Indictment.

       The magistrate judge remanded Defendant to the custody of the

 United States Marshals Service.

       The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R.        He further advised that failure to file

 objections would result in a waiver of the right to appeal from a

 judgment of this Court based on the R&R.          Neither Taylor nor the

 Government filed objections to the R&R.

       Accordingly, this Court ADOPTS the magistrate judge’s R&R

 [Dkt. No. 53], provisionally ACCEPTS Taylor’s guilty plea, and

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 ADJUDGES him GUILTY of the crime charged in Count Five of the

 Indictment.

       Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until

 it has received and reviewed the presentence investigation report

 prepared in this matter.

       Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS the

 following:

       1.     The Probation Officer shall undertake a presentence

 investigation of Taylor, and prepare a presentence investigation

 report for the Court;

       2.     The   Government   and   Taylor   shall   each   provide   their

 narrative descriptions of the offense to the Probation Officer by

 November 30, 2021;

       3.     The presentence investigation report shall be disclosed

 to Taylor, his counsel, and the Government on or before January

 31, 2022; however, the Probation Officer shall not disclose any

 sentencing recommendations made pursuant to Fed. R. Crim. P.

 32(e)(3);

       4.     Counsel may file written objections to the presentence

 investigation report on or before February 14, 2022;

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       5.     The Office of Probation shall submit the presentence

 investigation report with addendum to the Court on or before

 February 28, 2022; and

       6.     Counsel may file any written sentencing memorandum or

 statements      and   motions   for   departure    from   the    Sentencing

 Guidelines, including the factual basis for the same, on or before

 March 7, 2022.

       The Court further ORDERS that prior to sentencing, counsel

 for Defendant review with him the revised Standard Probation and

 Supervised Release Conditions adopted by this Court on November

 29, 2016, pursuant to the standing order entered by Chief Judge

 Groh, In Re: Revised Standard Probation and Supervised Release

 Conditions, 3:16-MC-56.

       The Court will conduct the Sentencing Hearing for Taylor on

 March 28, 2022, at 11:30 a.m., at the Elkins, West Virginia point

 of holding court. If counsel anticipates having multiple witnesses

 or an otherwise lengthy sentencing hearing, please notify the

 Judge’s chamber staff so that an adequate amount of time can be

 scheduled.

       It is so ORDERED.




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       The Clerk is directed to transmit copies of this Order to

 counsel of record and all appropriate agencies.

 DATED: November 17, 2021


                                    /s/ Thomas S. Kleeh
                                    THOMAS S. KLEEH
                                    UNITED STATES DISTRICT JUDGE




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